              Case
     Fill in this      22-56501-pmb
                  information                   Doc
                              to identify your case:   1    Filed 08/19/22 Entered 08/19/22 16:59:51                              Desc Main
                                                            Document      Page 1 of 8
     United States Bankruptcy Court for the:

     ____________________
     Northern              District of _________________
              District of Georgia      (State)
     Case number (If known): _________________________ Chapter you are filing under:
                                                               Chapter 7
                                                            
                                                            ✔
                                                            
                                                                Chapter 11
                                                                Chapter 12
                                                                                                                                         Check if this is an
                                                               Chapter 13                                                                  amended filing




Official Form 201
V olunt a ry Pe t it ion for N on-I ndividua ls Filing for Ba nk rupt c y                                                                            06/22

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.



1.    Debtor’s name                        Curepoint,  LLC
                                           ______________________________________________________________________________________________________




2.    All other names debtor used          ______________________________________________________________________________________________________
      in the last 8 years                  ______________________________________________________________________________________________________
                                           ______________________________________________________________________________________________________
      Include any assumed names,
                                           ______________________________________________________________________________________________________
      trade names, and doing business
      as names                             ______________________________________________________________________________________________________




3.    Debtor’s federal Employer            XX-XXXXXXX
                                           ______________________________________
      Identification Number (EIN)



4.    Debtor’s address                     Principal place of business                                  Mailing address, if different from principal place
                                                                                                        of business
                                               11175 Cicero Drive                                       _______________________________________________
                                           ______________________________________________
                                           Number     Street                                            Number     Street

                                               Suite 100
                                           ______________________________________________               _______________________________________________
                                                                                                        P.O. Box

                                               Alpharetta                    GA    30022
                                           ______________________________________________               _______________________________________________
                                           City                        State    ZIP Code                City                      State      ZIP Code

                                                                                                        Location of principal assets, if different from
                                                                                                        principal place of business
                                               Fulton County
                                           ______________________________________________
                                           County
                                                                                                        2406 Bellevue Road
                                                                                                        _______________________________________________
                                                                                                        Number     Street

                                                                                                        Suite 7
                                                                                                        _______________________________________________

                                                                                                        Dublin                     GA      31021
                                                                                                        _______________________________________________
                                                                                                        City                      State      ZIP Code




5.    Debtor’s website (URL)                https://www.curepointcancer.com/
                                           ____________________________________________________________________________________________________


6.    Type of debtor                       
                                           ✔ Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))

                                            Partnership (excluding LLP)
                                            Other. Specify: __________________________________________________________________


Official Form 201                                 Voluntary Petition for Non-Individuals Filing for Bankruptcy                             page 1
             Case 22-56501-pmb             Doc 1         Filed 08/19/22 Entered 08/19/22 16:59:51                                Desc Main
                                                         Document      Page 2 of 8
                Curepoint, LLC
Debtor          _______________________________________________________                         Case number (if known)_____________________________________
                Name


                                         A. Check one:
7.    Describe debtor’s business
                                         
                                         ✔ Health Care Business (as defined in 11 U.S.C. § 101(27A))

                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                          None of the above

                                         B. Check all that apply:
                                          Tax-exempt entity (as described in 26 U.S.C. § 501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                            § 80a-3)
                                          Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))
                                         C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                            See http://www.naics.com/search/ .
                                            621111
                                            _________

8.    Under which chapter of the         Check one:
      Bankruptcy Code is the              Chapter 7
      debtor filing?
                                          Chapter 9
                                         
                                         ✔ Chapter 11. Check all that apply:

                                                        The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its
                                                              aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                              are less than $3,024,725. If this sub-box is selected, attach the most
       A debtor who is a “small business                      recent balance sheet, statement of operations, cash-flow statement, and federal income
       debtor” must check the first sub-                      tax return or if any of these documents do not exist, follow the procedure in
                                                              11 U.S.C. § 1116(1)(B).
       box. A debtor as defined in
       § 1182(1) who elects to proceed                    
                                                          ✔
                                                               The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate
       under subchapter V of chapter 11                       noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are
                                                              less than $7,500,000, and it chooses to proceed under Subchapter V of
       (whether or not the debtor is a                        Chapter 11. If this sub-box is selected, attach the most recent balance sheet, statement
       “small business debtor”) must                          of operations, cash-flow statement, and federal income tax return, or if
       check the second sub-box.                              any of these documents do not exist, follow the procedure in 11 U.S.C.
                                                              § 1116(1)(B).

                                                             A plan is being filed with this petition.

                                                             Acceptances of the plan were solicited prepetition from one or more classes of creditors,
                                                              in accordance with 11 U.S.C. § 1126(b).

                                                             The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                              Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                              Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
                                                              for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

                                                             The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                              12b-2.
                                          Chapter 12
9.    Were prior bankruptcy cases         No
      filed by or against the debtor
      within the last 8 years?            Yes.    District _______________________ When _______________ Case number _________________________
                                                                                         MM / DD / YYYY
      If more than 2 cases, attach a
      separate list.                               District _______________________ When _______________ Case number _________________________
                                                                                         MM / DD / YYYY

10.   Are any bankruptcy cases            No
      pending or being filed by a
      business partner or an              Yes.    Debtor _____________________________________________ Relationship _________________________
      affiliate of the debtor?                     District _____________________________________________ When                __________________
      List all cases. If more than 1,                                                                                         MM / DD / YYYY
      attach a separate list.                      Case number, if known ________________________________

     Official Form 201                        Voluntary Petition for Non-Individuals Filing for Bankruptcy                                 page 2
           Case 22-56501-pmb                     Doc 1       Filed 08/19/22 Entered 08/19/22 16:59:51                                Desc Main
                                                             Document      Page 3 of 8
              Curepoint, LLC
Debtor        _______________________________________________________                             Case number (if known)_____________________________________
              Name




11.   Why is the case filed in this         Check all that apply:
      district?
                                             Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                             ✔

                                                 immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                                 district.

                                             A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.

12.   Does the debtor own or have           
                                            ✔ No
      possession of any real                 Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
      property or personal property
      that needs immediate                            Why does the property need immediate attention? (Check all that apply.)
      attention?
                                                         It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                          What is the hazard? _____________________________________________________________________

                                                         It needs to be physically secured or protected from the weather.

                                                         It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                          attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                          assets or other options).

                                                         Other _______________________________________________________________________________



                                                      Where is the property?_____________________________________________________________________
                                                                                  Number        Street

                                                                                  ____________________________________________________________________

                                                                                  _______________________________________       _______     ________________
                                                                                  City                                          State       ZIP Code


                                                      Is the property insured?
                                                         No
                                                         Yes. Insurance agency ____________________________________________________________________

                                                               Contact name       ____________________________________________________________________

                                                               Phone              ________________________________




            St a t ist ic a l a nd a dm inist ra t ive informa t ion



13.   Debtor’s estimation of                Check one:
      available funds                        Funds will be available for distribution to unsecured creditors.
                                             ✔


                                             After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

                                             1-49
                                             ✔
                                                                               1,000-5,000                              25,001-50,000
14.   Estimated number of                    50-99                            5,001-10,000                             50,001-100,000
      creditors
                                             100-199                          10,001-25,000                            More than 100,000
                                             200-999

                                             $0-$50,000                       $1,000,001-$10 million
                                                                              ✔
                                                                                                                         $500,000,001-$1 billion
15.   Estimated assets                       $50,001-$100,000                 $10,000,001-$50 million                  $1,000,000,001-$10 billion
                                             $100,001-$500,000                $50,000,001-$100 million                 $10,000,000,001-$50 billion
                                             $500,001-$1 million              $100,000,001-$500 million                More than $50 billion



  Official Form 201                               Voluntary Petition for Non-Individuals Filing for Bankruptcy                                 page 3
           Case 22-56501-pmb                   Doc 1        Filed 08/19/22 Entered 08/19/22 16:59:51                                Desc Main
                                                            Document      Page 4 of 8
               Curepoint, LLC
Debtor         _______________________________________________________                            Case number (if known)_____________________________________
               Name



                                            $0-$50,000                         $1,000,001-$10 million
                                                                                   ✔
                                                                                                                          $500,000,001-$1 billion
16.   Estimated liabilities                 $50,001-$100,000                   $10,000,001-$50 million                  $1,000,000,001-$10 billion
                                            $100,001-$500,000                  $50,000,001-$100 million                 $10,000,000,001-$50 billion
                                            $500,001-$1 million                $100,000,001-$500 million                More than $50 billion


             Re que st for Re lie f, De c la ra tion, a nd Signa t ure s


WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
           $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


17.   Declaration and signature of            The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
      authorized representative of
                                               petition.
      debtor
                                              I have been authorized to file this petition on behalf of the debtor.

                                              I have examined the information in this petition and have a reasonable belief that the information is true and
                                               correct.


                                           I declare under penalty of perjury that the foregoing is true and correct.

                                                              08/19/2022
                                               Executed on _________________
                                                           MM / DD / YYYY


                                            /s/ Phillip Miles
                                               _____________________________________________               Phillip Miles
                                                                                                          _______________________________________________
                                               Signature of authorized representative of debtor           Printed name

                                                      Designated Manager
                                               Title _________________________________________




18.   Signature of attorney
                                            /s/ Will Geer
                                               _____________________________________________              Date         08/19/2022
                                                                                                                       _________________
                                                Signature of attorney for debtor                                       MM   / DD / YYYY



                                                Will Geer
                                               _________________________________________________________________________________________________
                                               Printed name
                                                Rountree, Leitman, Klein & Geer, LLC
                                               _________________________________________________________________________________________________
                                               Firm name
                                                2987 Clairmont Road Suite 350
                                               _________________________________________________________________________________________________
                                               Number     Street
                                                Atlanta
                                               ____________________________________________________             GA            30329
                                                                                                              ____________ ______________________________
                                               City                                                           State        ZIP Code

                                                678-587-8740
                                               ____________________________________                              wgeer@rlkglaw.com
                                                                                                              __________________________________________
                                               Contact phone                                                  Email address



                                                940493                                                          GA
                                               ______________________________________________________ ____________
                                               Bar number                                             State




  Official Form 201                              Voluntary Petition for Non-Individuals Filing for Bankruptcy                                page 4
              Case 22-56501-pmb                  Doc 1      Filed 08/19/22 Entered 08/19/22 16:59:51                                Desc Main
                                                            Document      Page 5 of 8
      Fill in this information to identify the case:

                    Curepoint, LLC
      Debtor name __________________________________________________________________

                                              Northern District of Georgia
      United States Bankruptcy Court for the:_______________________________
                                                                                                                                        Check if this is an
      Case number (If known):   _________________________                                                                                   amended filing




    Official Form 204
    Cha pt e r 1 1 or Cha pt e r 9 Ca se s: List of Cre dit ors Who H a ve t he 2 0 La rge st
    U nse c ure d Cla im s a nd Are N ot I nside rs                                                                                                      12/15

    A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor
    disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by
    secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 20
    largest unsecured claims.


     Name of creditor and complete           Name, telephone number,      Nature of the claim   Indicate if     Amount of unsecured claim
     mailing address, including zip code     and email address of         (for example, trade   claim is        If the claim is fully unsecured, fill in only unsecured
                                             creditor contact             debts, bank loans,    contingent,     claim amount. If claim is partially secured, fill in
                                                                          professional          unliquidated,   total claim amount and deduction for value of
                                                                          services, and         or disputed     collateral or setoff to calculate unsecured claim.
                                                                          government
                                                                          contracts)
                                                                                                                Total claim, if    Deduction for       Unsecured
                                                                                                                partially          value of            claim
                                                                                                                secured            collateral or
                                                                                                                                   setoff
     Mark McCord                                                        Indemnification
1    2007 Breckinridge Lane
                                                                                                                                                     840,000.00
     Alpharetta, GA, 30005


     Alder Opportunity LP
2    300 Galleria PKWY
     # 600
                                                                                                                                                     550,000.00
     Atlanta, GA, 30339

     Georgia Department of Revenue                                      Taxes & Other
3    ARCS - Bankruptcy 1800 Century Blvd                                Government Units
     NE, Suite 9100
                                                                                                                                                     0.00
     Atlanta, GA, 30345
     Georgia Department of Labor                                        Taxes & Other
4    148 Andrew Young Inter. Blvd                                       Government Units
     Room 738                                                                                                                                        0.00
     Atlanta, GA, 30303-0000


     Internal Revenue Service                                           Taxes & Other
5    CIO                                                                Government Units
     P.O. Box 7346                                                                                                                                   0.00
     Philadelphia, PA, 19101-7346


6




7




8




    Official Form 204           Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                                page 1
             Case 22-56501-pmb                Doc 1      Filed 08/19/22 Entered 08/19/22 16:59:51                                 Desc Main
                                                         Document      Page 6 of 8
                  Curepoint, LLC
    Debtor       _______________________________________________________                     Case number (if known)_____________________________________
                 Name




     Name of creditor and complete         Name, telephone number,     Nature of the claim    Indicate if     Amount of unsecured claim
     mailing address, including zip code   and email address of        (for example, trade    claim is        If the claim is fully unsecured, fill in only unsecured
                                           creditor contact            debts, bank loans,     contingent,     claim amount. If claim is partially secured, fill in
                                                                       professional           unliquidated,   total claim amount and deduction for value of
                                                                       services, and          or disputed     collateral or setoff to calculate unsecured claim.
                                                                       government
                                                                       contracts)
                                                                                                              Total claim, if    Deduction for       Unsecured
                                                                                                              partially          value of            claim
                                                                                                              secured            collateral or
                                                                                                                                 setoff


9




10




11




12




13




14




15




16




17




18




19




20




    Official Form 204           Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                                 page 2
Case 22-56501-pmb                 Doc 1   Filed 08/19/22 Entered 08/19/22 16:59:51         Desc Main
                                          Document      Page 7 of 8

Alder Opportunity LP                                    PointOne Capital, LLC
300 Galleria PKWY                                       90 STATE STREET, SUITE 700
Atlanta, GA 30339                                       Office 40
                                                        Albany, NY 12207

AMOA Finance LLC.
3330 Preston Ridge RD                                   Tom Barton
Alpharetta, GA 30005                                    150 South Perry Street
                                                        Suite 100
                                                        Lawrenceville, GA 30046
Arvest Equipment Finance
PO Box 11110
Fort Smith, AK 72745                                    US Bank, N.A.
                                                        6730 VIP Parkway
                                                        Syracuse , NY 13211
CLG Servicing, LLC.
Toms River, NJ 08753
                                                        US Small Business Administration
                                                        233 Peachtree St. NE., Suite 300
First Liberty Building and Loan                         Atlanta, GA 30303
PO Box 2567
Newnan, GA 30264


Georgia Department of Labor
148 Andrew Young Inter. Blvd
Room 738
Atlanta, GA 30303-0000


Georgia Department of Revenue
ARCS - Bankruptcy 1800 Century Blvd NE, Suite 9100
Atlanta, GA 30345


Internal Revenue Service
CIO
P.O. Box 7346
Philadelphia, PA 19101-7346


Lafayette Bank
340 West Main Street
Mayo, FL 32066


Mark McCord
2007 Breckinridge Lane
Alpharetta, GA 30005


NFG Advance, LLC
1308 KINGS HWY
Brooklyn, NY 11229


Parkview Advance
400 Main Street
Stamford, CT 06901
Case 22-56501-pmb         Doc 1     Filed 08/19/22 Entered 08/19/22 16:59:51        Desc Main
                                    Document      Page 8 of 8



                              United States Bankruptcy Court
                                  Northern District of Georgia




         Curepoint, LLC
In re:                                                              Case No.

                                                                    Chapter    11
                     Debtor(s)




                              Verification of Creditor Matrix



       The above-named Debtor(s) hereby verify that the attached list of creditors is
true and correct to the best of their knowledge.




              08/19/2022                             /s/ Phillip Miles
Date:
                                                    Signature of Individual signing on behalf of debtor

                                                     Designated Manager
                                                    Position or relationship to debtor
